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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON


UNITED STATES OF AMERICA
v.                                       CRIMINAL ACTION NO. 2:00-00005-02
LUCIUS MERRITT ROGERS

                          MEMORANDUM OPINION AND ORDER

              Pending is defendant’s “Motion Under Rule 60(b)(4)(6) and
Notification Not to Construe Motion as a 2255 and File This Motion
As Is Under the Supreme Court Ruling Under Blakely vs. Washington[,]”
filed January 31, 2008.          The motion was previously referred to Mary
E. Stanley, United States Magistrate Judge, who has submitted her
Proposed Findings and Recommendation pursuant to the provisions of
28 U.S.C. § 636(b)(1)(B).


              The    court   has   reviewed       the       Proposed   Findings     and

Recommendation entered by the magistrate judge on March 18, 2008.

The magistrate judge recommends defendant’s motion be denied based

upon the same grounds for denial of an earlier, identical motion by

defendant, namely, that Rule 60(b) may not be used as a vehicle to

overturn a criminal conviction and sentence.                  The plaintiff has not

objected to the Proposed Findings and Recommendation.1                      The court

concludes the recommended disposition is correct.

        1
      Defendant was released from custody on March 17, 2008. The
proposed findings and recommendation were sent initially to
defendant’s place of incarceration. The mailing was returned and
sent anew by the Clerk on March 24, 2008, to 706 Cairns Court,
Apartment 51, Charleston, West Virginia, 25312, the same address
on file with the United States Probation Office for purposes of
defendant’s supervision.
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           Based upon the foregoing discussion, it is, accordingly,

ORDERED that:


           1.    The Proposed Findings and Recommendation be, and it

hereby is, adopted by the court; and


           2.    The motion be, and it hereby is, denied.


           The Clerk is directed to forward copies of this written

opinion and order to the defendant, all counsel of record, and the

United States Magistrate Judge.


                                         DATED:        May 20, 2008


                                         John T. Copenhaver, Jr.
                                         United States District Judge
